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    15                       UNITED STATES DISTRICT COURT
    16        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
    17
    18 ALEX ROSAS and JONATHAN                    Case No. 12-cv-00428 DDP (MRW)
       GOODWIN on behalf of themselves
    19 and those similarly situated,              DEFENDANT’S OPENING BRIEF
                                                  ADDRESSING DEFENDANT’S
    20              Plaintiffs,                   PROPOSED COMPLIANCE PLAN
    21        v.                                  [Filed concurrently with Defendant's
                                                  Proposed Compliance Plan,
    22 ROBERT LUNA, Sheriff of Los                Declaration of Robert E. Dugdale,
                                                  Declaration of Larry Alva, and
    23 Angeles
       capacity,
                County, in his official
                                                  [Proposed] Order]
    24             Defendant.
                                                  Judge: Dean D. Pregerson
                                                  Time: June 26, 2023
    25                                            Date: 10:00 a.m.
                                                  Courtroom:   9C
    26
    27
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     1                MEMORANDUM OF POINTS AND AUTHORITIES
     2 I.     INTRODUCTION
     3        In May 2022, the Los Angeles County Sheriff’s Department (the “LASD” or
     4 “Department”) and counsel for Plaintiffs Alex Rosas and Jonathan Goodwin
     5 (“Plaintiffs”) (collectively, “the Parties”) agreed to work together to craft a
     6 “compliance plan” setting forth corrective actions the Department would agree to
     7 take in order to reach compliance with its obligations in this case. Working in
     8 conjunction with the court-appointed Monitoring Panel, which oversees and reports
     9 on the LASD’s progress in this case, the Parties agreed to focus their efforts on
    10 formulating a Compliance Plan covering four key areas: (1) the elimination of
    11 impermissible head strikes; (2) the LASD’s force avoidance and de-escalation
    12 practices; (3) the proper use of the WRAP restraint device; and (4) holding LASD
    13 personnel accountable for violations of the LASD’s use of force policies.
    14        Since last May, two developments have simultaneously occurred. First, the
    15 Parties engaged in numerous meetings, including meetings involving the Panel, in
    16 an effort to reach agreement on provisions to be included in a jointly-negotiated
    17 Compliance Plan. Second, as a result of numerous corrective actions the
    18 Department has already taken to improve its compliance with the myriad
    19 requirements it faces in this case, the number of occasions when force has been used
    20 against inmates in the Los Angeles County Jail system (the “LACJ” or the “Jails”)
    21 has plummeted over the past 18 months, as have the number of head strikes.
    22 Meanwhile, the number of recorded cases in which Deputies have taken actions to
    23 avoid uses of force has increased dramatically. Indeed, the Panel lauded the
    24 Department’s improved performance in these areas in its most recent report and
    25 noted a dramatic change in the culture in the Jails, to one in which inmates no longer
    26 fear they will be targeted with excessive or unnecessary force.
    27        With regard to the Parties’ efforts to negotiate a Compliance Plan covering
    28 the four areas described above, the Department has agreed to undertake many of the

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     1 corrective actions proposed by Plaintiffs. When combined with other corrective
     2 actions the LASD has offered to implement, the LASD has put together a robust
     3 plan that will ensure its future compliance with provisions in this case where
     4 compliance has previously been lacking. However, as well as the Parties have
     5 collaborated to reach an agreement on a joint Compliance Plan, a handful of
     6 disputes remain.
     7         First, the Parties have not reached an agreement on the limited circumstances
     8 when head strikes should be permitted. In this regard, the Department has put into
     9 place an extremely restrictive policy that only permits a Deputy to employ a head
    10 strike while using force when (a) an inmate is assaultive; (b) the Deputy faces an
    11 imminent threat of serious bodily injury as a result of the inmate’s actions; and (c)
    12 there are no other more reasonable means to avoid serious injury the Deputy can
    13 employ. This head strike policy precisely tracks the requirements of a suitable head
    14 strike policy the Parties and the Panel agreed to years ago; it has proven to be an
    15 effective policy, as evidenced by the decreasing number of head strikes used in the
    16 Jails since its implementation; and it is a policy consistent with head strike policies
    17 utilized in other carceral settings. Given the Department’s encouraging success on
    18 this issue since last May, there is no need at this time to impose yet another new
    19 policy which goes beyond the requirements of the negotiated Settlement Agreement,
    20 and which runs a risk of endangering the safety of Department personnel in the Jails.
    21         More fundamentally, the Parties are at loggerheads over the provisions to
    22 address accountability for Department personnel who violate a LASD use of force
    23 policy. In this regard, the LASD has agreed to take a number of steps to
    24 professionalize, and increase the reliability and consistency of its use of force
    25 review processes, including (1) standing up an independent unit solely dedicated to
    26 reviewing uses of force to ensure uses of force are promptly and thoroughly
    27 reviewed; (2) requiring that uses of force be reported in certain ways to ensure
    28 clarity as to whether they were, or were not, committed in a manner consistent with

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     1 LASD policy; (3) requiring that those reviewing uses of force explicitly examine
     2 whether specific policy violations occurred and whether statements made by
     3 deputies about uses of force are materially consistent with other evidence, including
     4 video evidence; and (4) equipping all deputies in the jails with body worn cameras
     5 (“BWCs”). The Department views each of these as significant reforms, properly
     6 targeted towards creating the institutional infrastructure necessary to ensuring that
     7 Deputies who violate the LASD’s use of force policies are held accountable.
     8         Plaintiffs believe that, on top of these substantial new protocols, the
     9 Department must also radically change its disciplinary policies to mandate that strict
    10 “mandatory-minimum” penalties be doled out whenever Deputies violate certain use
    11 of force policies. This proposed re-working of the Department’s disciplinary
    12 guidelines would result in a drastically unfair disciplinary system when compared to
    13 the disciplinary system the Department currently has in place, which encourages
    14 progressive punishment when Department policies are violated and which allows for
    15 those reviewing policy violations to take into account all of the relevant
    16 circumstances surrounding a policy violation when determining an appropriate
    17 disciplinary sanction. Moreover, even if the Department could justify drastically
    18 altering its disciplinary processes in the manner advocated by Plaintiffs, it could not
    19 do so unilaterally in light of a court ruling requiring the Department to negotiate
    20 such changes with the Deputies’ union.
    21         In sum, over the past year, the Department’s performance in this case has
    22 dramatically improved, and, under the nascent tenure of Sheriff Robert Luna, it has
    23 continued to improve. In light of that improvement, and the Sheriff’s commitment
    24 to implement each and every one of the provisions in the Compliance Plan described
    25 below, the Sheriff should be afforded the latitude to implement his plan and his
    26 vision to obtain compliance in this case, instead of having Plaintiffs impose
    27 provisions that are impractical and that far exceed the scope of anything
    28 contemplated during the exhaustively-negotiated settlement entered in this case.

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     1 II.     FACTUAL BACKGROUND AND PROCEDURAL HISTORY
     2         A.    The Rosas Settlement Agreement
     3         In January 2012, Plaintiffs filed the original Complaint in this action alleging
     4 that inmates at Men’s Central Jail (“MCJ”), Twin Towers Correctional Facility
     5 (“TTCF”), and the Inmate Reception Center (“IRC”) (collectively, “the Downtown
     6 Jails”) were being subjected to a pattern of unnecessary and excessive force inflicted
     7 by LASD personnel and that the Sheriff had not taken reasonable steps to prevent
     8 the use of excessive force. Plaintiffs alleged that “[i]nmates in the Jails live in fear
     9 of deputy violence” as a result of “extreme and unjustified violence by deputies
    10 against inmates” and a “culture of deputy violence.” Dkt. 32 at ¶¶ 1, 5. Plaintiffs
    11 further alleged Deputies would “subject unresisting inmates to grossly excessive
    12 force by slamming inmates’ heads into walls, punching them in the face with their
    13 fists, kicking them with their boots, and shooting them multiple times with their
    14 tasers;” beatings which resulted in “serious injuries to the inmates, including broken
    15 legs, fractured eye sockets, shattered jaws, broken teeth, severe head injuries, nerve
    16 damage, dislocated joints, collapsed lungs, and wounds requiring dozens of stitches
    17 and staples;” and that many of these beatings were racially motivated while others
    18 were inflicted “for no apparent reason at all.” Id. at ¶ 5.
    19         Between April 2012 and September 2014, the Parties engaged in extensive
    20 negotiations to reach a settlement. In September 2014, the Parties reached an
    21 agreement whereby the Court would appoint three experts (the “Panel”) to develop
    22 an Implementation Plan to remedy the Department’s violations, to monitor the
    23 Department’s implementation of and compliance with the terms of that
    24 Implementation Plan, and to make periodic reports to the Court of its findings. In
    25 October 2014, the Panel finalized that Implementation Plan.
    26         In April 2015, the Court approved the court-enforceable Settlement
    27 Agreement and Release (the “Settlement Agreement”) between Plaintiffs and the
    28 Department. The Panel’s Implementation Plan was incorporated by reference into

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     1 the Settlement Agreement, thereby obligating the Department to undertake
     2 numerous improvements to its policies, training, conduct, and force reporting. The
     3 Settlement Agreement represented the culmination of several years of litigation
     4 initiated to stop the use of excessive force against incarcerated persons at the
     5 Downtown Jails and involved an extensive bargaining process that was informed at
     6 every step by experts, the Court, and other stakeholders.
     7         B.    The Panel’s Tenth Report Recommends the Creation of a
     8               Supplemental Joint Compliance Plan
     9         As noted above, one of the Panel’s obligations under the Settlement
    10 Agreement is to provide periodic reports to the Court addressing the Department’s
    11 progress in complying with the Implementation Plan’s roughly 100 provisions. On
    12 April 7, 2022, the Panel filed its Tenth Report with the Court, evaluating the
    13 Department’s compliance with the Implementation Plan for the period spanning
    14 January 1, 2021 to June 30, 2021. Dkt. 205 (the “Tenth Report”). In the Tenth
    15 Report, the Panel noted the Department’s “great progress” since the initiation of this
    16 litigation, but also that the Department’s “progress on some key issues has
    17 ‘plateaued’” short of full compliance. Id. at 2. Accordingly, the Panel requested
    18 that the Court hold a status conference, and it provided recommendations to bring
    19 the Department into compliance with the remaining Settlement Agreement
    20 provisions with which the Department had not yet reached full compliance.
    21         On May 4, 2022, the Department filed its response to the Tenth Report. See
    22 Dkt. 210. The Department’s response challenged many of the Tenth Report’s
    23 conclusions, including by pointing out that the Department had reached compliance
    24 with over 75 percent of the Implementation Plan’s roughly 100 provisions, and by
    25 demonstrating that that overall uses of force in the Downtown Jails had decreased
    26 significantly from 2019 to 2021. See id. at 8-10. Still, the Department recognized it
    27 had fallen short of full compliance with all of the Implementation Plan’s
    28 requirements, and it agreed that it would institute additional corrective actions in

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     1 order to reach full compliance.
     2        C.     Compliance Plan Negotiations
     3        On May 12, 2022, the Parties attended a status conference and agreed to
     4 negotiate in good faith to reach agreement on a plan that would bring the
     5 Department into full compliance with the Implementation Plan provisions with
     6 which the LASD has not yet reached compliance. On May 27, 2022, the Parties
     7 stipulated to work in conjunction with the Panel to develop a written plan for the
     8 Department to achieve compliance with key facets of this case addressed in the
     9 Panel’s Tenth Report. Dkt. 218. To that end, the Parties agreed to work
    10 collaboratively on a Compliance Plan that focuses on four key areas: (1) eliminating
    11 impermissible head strikes; (2) ensuring appropriate utilization of force prevention
    12 and de-escalation techniques; (3) ensuring proper use of the WRAP restraint device;
    13 and (4) ensuring accountability for Department personnel who violate the
    14 Implementation Plan’s provisions and/or Department use of force polices. Id. at 2.
    15        Since June 2022, the Parties have met and conferred regularly, including on
    16 several occasions with the Panel present, and have exchanged several draft
    17 compliance plans in an effort to formulate a joint compliance plan, as ordered by the
    18 Court. On June 10, 2022, each Party submitted a preliminary framework for a
    19 compliance plan; and, on June 13, 2022, the Parties and the Panel met to discuss the
    20 Parties’ respective proposals. On October 7, 2022, the Panel provided written
    21 comments on the Parties’ frameworks for their compliance plans. Then, on October
    22 31, 2022, Plaintiffs’ counsel submitted to the Panel and Defendant’s counsel a more
    23 comprehensive version of Plaintiffs’ compliance plan that included consideration of
    24 the prior feedback concerning the plan provided by the Panel and Defendant’s
    25 counsel. On November 4, 2022, the Department followed suit by submitting a more
    26 comprehensive version of the Department’s compliance plan that included
    27 consideration of feedback provided by the Panel and Plaintiffs’ counsel.
    28        On November 9, 2022, after the Parties exchanged these more comprehensive

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     1 draft compliance plans, the Parties and the Panel met in person and conferred about
     2 each Party’s respective plan and the Panel’s comments. On November 19, 2022, the
     3 Department provided a list of several elements from the Parties’ respective
     4 compliance plans to which the Department believed it could agree as part of a joint
     5 compliance plan. The parties made a tentative agreement to include in a joint
     6 compliance plan the elements identified by the Department on November 19, 2022
     7 in a joint compliance plan, and to work together and with the Panel to find
     8 additional common ground for a joint compliance plan
     9        As explained in a joint status report filed on November 30, 2022, the Parties’
    10 ability to reach agreement was delayed by the election of Sheriff Luna, and the
    11 appointment of a new Assistant Sheriff in charge of the LASD’s Custody Division.
    12 However, beginning in February 2023, counsel for the Parties resumed meetings to
    13 discuss the framework of a potential joint compliance plan, exchanged written
    14 proposals, and made considerable progress in identifying areas of common ground
    15 that could form the basis of a joint compliance plan, while also identifying areas of
    16 disagreement.
    17        D.     The Panel’s Eleventh Report Notes the Department’s Significant
    18               Progress in Key Areas
    19        On March 8, 2023, the Panel filed its most recent assessment of the
    20 Department’s compliance with the Implementation Plan for the period of July 1,
    21 2021, to June 30, 2022. See Dkt. 238 (the “Eleventh Report”). The Eleventh Report
    22 found the Department compliant with 77 out of the 100 applicable provisions in the
    23 Implementation Plan. See id. at 7. Notably, the Panel acknowledged significant
    24 improvement in the Department’s performance related to the key issues subject to
    25 the Compliance Plan being negotiated by the Parties. In this regard, the Eleventh
    26 Report made the following observations, among others:
    27              Use of Force—The Panel lauded the LASD for achieving consistent
    28               declines in the overall use of force numbers in the Downtown LA Jails

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  1              over multiple reporting periods, from 593 incidents in the first two
  2              quarters of 2021, to 558 in the second two quarters of 2021, to 526 in
  3              the first two quarters of 2022 (see id. at 5) (“The overall force numbers
  4              are trending downward…We believe that these successive decreases in
  5              the number of uses of force incidents represent meaningful
  6              progress…”);
  7             Head Strikes—The Panel noted a nearly 50 percent decrease in the
  8              total number of head strikes from 2021 to 2022 at both MCJ (from 32
  9              to 17) and TTCF (from 30 to 16), including multiple months in 2022 at
 10              both facilities when there was not a single use of force that involved a
 11              head strike (see id. at 6-7);
 12             Communication of Head Strikes Directive—The Panel noted LASD
 13              leadership’s “effective” communication of the Department’s new head
 14              strike directive, issued in May 2022, which the Panel credited for the
 15              downward trend in head strikes (see id. at 7) (“The Department’s
 16              concerted focus on head strikes in the past several months appears to be
 17              having a positive impact on the downward trend.”); and
 18             De-escalation and Force Avoidance—The Panel acknowledged the
 19              proper and effective use of de-escalation and force avoidance tactics by
 20              Department personnel, even in situations involving “threats to [the]
 21              personal safety” of Department personnel. See id. at 24 (describing
 22              four use of force incidents and noting that in three of them, Department
 23              personnel used “de-escalation tactics, time and distance, planning, and
 24              brought resources to resolve situations with minimal force”).
 25        Accordingly, while not wholly universal in its praise of the Department’s
 26 performance during the time period examined, the Panel’s assessment of the
 27 Department’s showing in the Eleventh Report acknowledged significant
 28 improvement in the areas of concerns expressed in the Tenth Report.

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  1         E.    The Panel’s March 2023 Tour of the Downtown Jails Confirms a
  2               Change of Culture in the Jails
  3         During March 20-22, 2023, the Panel visited the Downtown LA Jails and
  4 conducted numerous interviews with inmates randomly selected by the Panel.
  5 Declaration of Robert Dugdale (“Dugdale Decl.”) at ¶ 3. In a marked departure
  6 from the time period that preceded the Settlement Agreement in this case, the Panel
  7 found that “across the board” inmates at the Downtown Jails were no longer
  8 concerned with their physical safety, either at the hands of guards or other inmates.
  9 Id. at ¶ 4. Indeed, such complaints from the past by inmates have now been
 10 superseded with complaints about shower temperatures, alternating between
 11 extremes; trouble with toilets; and being served cold food; while, on the subject of
 12 the culture of physical abuse that gave rise to this litigation, inmates recognized a
 13 clear, positive change in the behavior and tone of Department personnel in the Jails.
 14         F.    Uses of Force and Head Strikes in the Jails Have Continued to
 15               Decrease Under Sheriff Luna
 16         Since assuming office in December 2022, Sheriff Luna has taken a far more
 17 aggressive posture than his predecessor in implementing changes in the Jails to
 18 bring the Department into compliance with the Implementation Plan’s requirements,
 19 and the data bears that out.
 20         Preliminary data for 2023 indicates that the number of uses of force and head
 21 strikes in the Downtown LA Jails have continued to trend downwards under Sheriff
 22 Luna. Through April 2023, there were just 239 uses of force in the Downtown Jails,
 23 down from 365 uses of force over the same period in 2022. See Declaration of
 24 Commander Larry Alva (“Alva Decl.”) at ¶ 4. In addition, the number of instances
 25 when LASD Deputies have taken steps to avoid the use of force in the Jails has
 26 continued to rise this year, as there have been 2,739 documented prevented uses of
 27 force, up from 1,536 at this point last year. Id. at ¶ 6. Notably, this number far
 28 exceeds the number of times LASD Deputies actually resort to the use of force

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  1 against inmates.
  2         G.    Areas of Agreement Between the Parties With Regard to a
  3               Compliance Plan and Other Corrective Actions the Department Is
  4               Committed To Taking to Improve Its Compliance
  5         After nearly one year of extensive, productive, and good-faith negotiations on
  6 both sides, the Parties have reached significant agreement on a joint compliance
  7 plan which addresses the four key issues identified last May. When these areas of
  8 agreement are combined with additional corrective actions the Department is
  9 committed to taking to improve its compliance, they form a robust set of measures
 10 that are more than sufficient to bring the Department into compliance with the
 11 remaining settlement provisions in this case.
 12         As shown in the “LASD Proposed Compliance Plan” attached to this brief at
 13 Exhibit A, the corrective actions jointly negotiated between the Parties, and those
 14 additional corrective actions that the Department is willing to take, include the
 15 following key provisions:1
 16               1.     Head Strikes
 17  In May 2022, the Department issued a new prohibited force directive, which
 18    implemented the specific limitations on the use of head strikes called for in the
 19    Implementation Plan by providing that Department personnel may only employ
 20    head strikes during a use of force if (1) the inmate is assaultive; (2) the inmate
 21    presents an imminent danger of serious injury; and (3) there are no other more
 22    reasonable means to avoid injury (the “Head Strike Directive”).
 23  The Department has agreed that Plaintiffs’ counsel and the Panel may review and
 24   provide comment on the training provided by the Department to its personnel
 25
    1
 26 Per the stipulation entered between the Parties on May 26, 2023, the Parties are
    reserving any discussion and argument concerning any disputes that may exist with
 27 regard to the Department’s new “Prohibited Use of Force” policy and WRAP policy
 28 until the Parties file their responsive briefs on June 12, 2023.

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  1     related to the Head Strike Directive.
  2  The Department will require its personnel to immediately notify medical staff any
  3   time a head strike is used. Upon notification, any inmate subject to a head strike
  4   will be treated and evaluated confidentially by medical staff as expediently as
  5     practical if the person has visible injuries, and with reasonable urgency if the
  6     person has no visible injuries. All notes taken by medical staff during this
  7     treatment and evaluation will be saved to the inmate’s medical records.
  8
       The Department will mandate that all personnel required to prepare a witness
  9
        report relating to a use of force incident explicitly state whether they used any
 10
        head strikes or saw any other LASD personnel use a head strike. If the person
 11
        preparing the report did use, or see another person use, a head strike, that person
 12
        must: (i) describe the head strike, including the number of head strikes; and (ii)
 13
        describe the incarcerated person’s behavior and conduct prior to the head strike.
 14
       The Department will require all instances of head strikes to be expressly assessed
 15
        in supervisors’ use of force reviews. Supervisors will be required to assess the
 16
        head strike’s compliance with each element of the Department policy, and to
 17
        evaluate whether the explanation of the incident involving the head strike
 18
        provided by Department personnel is materially consistent with other available
 19
        evidence, including video footage and witness statements.
 20
 21  The Department has agreed that it will rigorously track all head strikes through a
      “head strike tracker,” prepared quarterly; which will track all head strikes by
 22
      location and indicate whether specific deputies or custody assistants are using
 23
      head strikes multiple times; and which will be regularly reviewed by LASD
 24
      leadership in the Jails to uncover trends concerning the use of head strikes.
 25
 26  The Department will provide the Panel and Plaintiffs’ counsel with information
 27   about disciplinary outcomes with respect to uses of head strikes quarterly.
 28

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  1                2.    Force Prevention
  2  The Department will create a standardized reporting template which will require
  3      all personnel who use force implicated by the Department’s limitations on force
  4      directive to expressly address: (1) whether the inmate was assaultive; (2) whether
  5      the inmate presented an imminent danger of serious injury to LASD personnel or
  6      others; and (3) whether there were other reasonable means to avoid serious
  7      injury. Additionally, all LASD personnel who use force will be required to
  8      explain what they did to de-escalate and/or avoid the confrontation leading up to
  9      the use of force.
 10  The Department will require all personnel who prepare a witness report pursuant
 11   to a use of force incident to explain what the LASD personnel they witnessed did
 12   to de-escalate and/or avoid the confrontation leading up to the use of force.
 13
       The Department will create a standardized review template for supervisors who
 14
         review uses of force, which will require the supervisor to expressly evaluate
 15
         Deputies’ efforts to avoid and/or de-escalate uses of force, whether any head
 16
         strike administered was consistent with LASD policy, and whether a Deputy’s
 17
         explanation for the use of force and/or head strike was materially consistent with
 18
         other available evidence, including video evidence and witness statements.
 19
       The Department has agreed to meet with Plaintiffs and the Panel to discuss their
 20
         objections to the current 32-hour DeVRT training for force avoidance conflict
 21
         resolution and proposed revisions to that training.
 22
                   3.    Accountability and Discipline
 23
 24  At the encouragement of the Panel, the Department is establishing a specialized,
      independent force review team consisting of no fewer than eight sergeants who
 25
      will hold positions on this team dedicated solely to the review of all uses of force
 26
      in the Jails (the “Independent Force Review Team”). The purpose of the
 27
      Independent Force Review Team is to both expedite and improve the quality of
 28

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  1       force reviews. Initially, the Independent Force Review Team will focus on
  2       reviewing uses of force involving head strikes, the use of the WRAP, and
  3       category 2 uses of force in the Jails.2
  4  Until the Independent Force Review Team becomes operational, the LASD will
  5   “fast track” the review of all uses of force involving head strikes, and, as part of
  6   that process, the Assistant Sheriff of the Custody Division will personally review
  7       all use of force packets involving head strikes after the Jails’ Commander
  8       reviews such uses of force, but on a timeline that will not preclude the imposition
  9       of discipline against Deputies under the Police Officer Bill of Rights who engage
 10       in head strikes that are in violation of Department policy.
 11
       The Department will outfit all personnel in the Downtown Jails with BWCs. As
 12
          shown through a 2022 pilot program in which a group of Deputies at MCJ were
 13
          equipped with BWCs, the use of BWCs not only provides an improved method
 14
          for documenting uses of force, but has also proven to decrease the overall
 15
          number of uses of force employed by Deputies. The presence of BWCs appears
 16
          to encourage both inmates and Deputies to conduct themselves better.
 17
       The Department has agreed to work to expand its use of data to help ensure
 18
          compliance and better identify areas of non-compliance with the Settlement
 19
          Agreement’s provisions. In this regard, the Department is collecting data
 20
          showing uses of force by category and by facility; uses of force involving head
 21
          strikes; and data showing the use of the WRAP. In addition, the Department is
 22
          committed to exploring how it can track uses of force by the type of housing
 23
          where a use of force occurred, as well as how it can track the number of force
 24
          incidents for which violations have been found, the Implementation Plan or Use
 25
 26
 27   2
      Category 3 uses of force, the most serious uses of force in the Jails, are
 28 automatically referred to the Department’s Internal Affairs Division for review.

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  1       of Force manual provision violated, and the discipline imposed.
  2  Subject to this enhanced effort to track data relevant to uses of force in the Jails,
  3   the Department will provide to Plaintiffs’ counsel and the Panel the following
  4   information relating to the discipline of Department personnel on a quarterly
  5       basis: data on the number of force incidents for which violations were found, the
  6       Implementation Plan provision or Department Use of Force manual provision
  7       violated, and the discipline imposed as a result of the violation found.
  8
             Essentially, the Department is committed to professionalizing and
  9
      standardizing its use of force reporting and supervisory review process at every step.
 10
      This includes the creation of a central and independent unit of supervisors whose
 11
      sole job will be to review use of force reports in the Jails,3 a significant structural
 12
      reform which the Department is committing to take in its effort to reach full
 13
      compliance with the Implementation Plan’s outstanding provisions. The
 14
      Department, taking its cue from the Panel, believes professionalizing the report and
 15
      review process is a targeted and realistic goal that will yield positive results in all
 16
      four areas that are the focus of the Department’s Compliance Plan and will help the
 17
      Department come into full compliance with all of the Implementation Plan’s
 18
      provisions. Furthermore, by creating a standardized process for deputies and
 19
      witnesses to report uses of force in the Jails which expressly requires the disclosure
 20
 21
      3
 22      Traditionally, supervisory review of use of force reports has been done on an ad
      hoc basis by whichever supervisors happen to be available, and without consistent,
 23   standardized guidelines as to the specific factors that supervisors need to assess in
 24   their reviews, leading to variations in the quality of force reviews. Additionally,
      reviews are currently conducted by the same supervisors who oversee the Deputies
 25   involved in a particular use of force report. The Panel has raised issues with this
 26   system, and it has repeatedly touted the idea that the creation of a central,
      independent force review unit within the Department would be a potential game
 27   changer in the area of improving the manner in which the Department holds
 28   Deputies accountable for uses of force which violate Department policy.

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  1 and explanation of key information relevant to Department policy; by fully
  2 employing BWCs in the Jails that will better document uses of force; and by
  3 establishing a centralized and independent unit to assess whether uses of force are
  4 consistent with the Department’s use of force policies, and to impose appropriate
  5 discipline on Deputies who use force in violation of LASD policy, the Department is
  6 confident that overall uses of force and the use of head strikes will continue to
  7 decline in the Jails and that uses of force which violate LASD policy will receive
  8 better quality scrutiny and be reviewed much faster, leading to improved
  9 accountability within the Department. The Department believes that a Compliance
 10 Plan anchored by these principles is sufficient to move it to full compliance with the
 11 Settlement Agreement and Implementation Plan.
 12         H.     Compliance Plan Areas of Disagreement
 13         Notwithstanding these significant areas of agreement and meaningful steps
 14 the Department is willing to take to improve its performance in the four areas
 15 subject to the Parties’ discussions, the Parties have reached an impasse on certain
 16 terms of a potential joint Compliance Plan. The main areas of disagreement appear
 17 to be: (1) what policy should apply to the use of head strikes; (2) whether there is a
 18 need for mandatory discipline for Deputies whenever they violate certain
 19 Department policies, specifically violations of whatever head strike policy is
 20 ultimately adopted by the Department, any failures to engage in force prevention,
 21 any dishonesty in force reporting, and any failures by supervisors to identify
 22 violations of these policies and hold personnel accountable for such violations; and
 23 (3) whether certain other miscellaneous provisions should be included in a
 24 Compliance Plan.4
 25
    4
 26    Among other areas of disagreement, the Department has agreed to significantly
    increase the amount of information about uses of force, head strikes, and
 27 disciplinary outcomes that it gathers and reports to Plaintiffs and the Panel, but it
 28 has not agreed to all of Plaintiffs’ requests in this vein, because it is not feasible for

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  1         In some areas, the Parties agree that changes are appropriate, but disagree as
  2 to the scope of the change. For example, the LASD has agreed to change its prior
  3 head strike policy so head strikes are only permissible if (i) an inmate is assaultive;
  4 (ii) an inmate presents an imminent danger of serious injury; and (iii) there are no
  5 other more reasonable means to avoid serious injury. Plaintiffs believe that this
  6 policy represents an improvement as compared to the Department’s prior head strike
  7 policy but nonetheless believe the Department’s head strike policy should be even
  8 more restrictive so that head strikes are only permitted when a use of deadly force is
  9 justified—i.e., where an inmates’ actions place a Deputy’s life at risk.
 10         In other areas, the divide between the Parties’ respective positions is more
 11 significant. For instance, Plaintiffs believe for certain policy violations by
 12 Department personnel, such as violations of the Department’s policy governing head
 13 strikes and its policy governing dishonest reporting on a use of force report, the
 14 Department needs to impose strict mandatory penalties. In contrast, the
 15 Department’s position is that it will “not ‘mandate’ discipline in any case, as each
 16 disciplinary decision is based on the individual circumstances of the case and the
 17 individual involved.” As explained in the Parties’ recent Joint Status Report, the
 18 LASD believes it would be unjust to impose mandatory punishments on Department
 19 personnel for violations of LASD policy without consideration of factors such as (1)
 20 an employee’s service record, including any prior disciplinary history; (2) the
 21 severity of a use of force and the seriousness of the violation; and (3) other relevant
 22 circumstances in aggravation or mitigation. See Dkt. 240 at 7-8. Furthermore, even
 23 if the Sheriff were inclined to transform the Department’s disciplinary system so as
 24 to discount the individual circumstances in cases in favor of strict mandatory-
 25 minimum penalties that fail to look at violations of policy in a holistic and fair
 26 fashion—which he is not—the Sheriff cannot unilaterally impose such changes to
 27
 28 the Department to track all of the information Plaintiffs would like tracked.

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  1 the Department’s disciplinary processes without violating the Department’s
  2 obligation to negotiate such matters with the labor representative of the
  3 Department’s employees and without triggering civil service hearing outcomes in
  4 which discipline is ultimately overturned and erased. Id. The Department does not
  5 believe Plaintiffs have demonstrated that these mandatory-minimums sanctions are
  6 necessary, particularly since LASD personnel have been suspended and in some
  7 cases terminated for violations of its use of force policy. Id.
  8          Likewise, the Department cannot agree to a proposal by Plaintiffs that would
  9 have the Office of the Inspector General (“OIG”) serve as a “tiebreaker” in
 10 situations where the Department finds a use of force is permissible but the Panel
 11 believes a violation occurred, and levy decisions that would result in a $10,000
 12 “contempt fine” on each occasion when the OIG rules against the Department.
 13 While the Sheriff appreciates and respects the oversight that the OIG exercises over
 14 the Department, Plaintiffs’ proposal represents an unprecedented expansion of the
 15 OIG’s powers that Plaintiffs have never attempted to justify in any discussion the
 16 Parties have held concerning a potential joint Compliance Plan. There is also
 17 nothing in the Settlement Agreement that would authorize the OIG to find that
 18 Department personnel have violated LASD policy and to impose “contempt fines”
 19 in a case where the Department has never been held in contempt.
 20 III.     PLAINTIFFS’ EXTREME PROPOSALS BEYOND THOSE AGREED
 21          TO BY THE DEPARTMENT ARE UNWARRANTED
 22          A.    Plaintiffs’ Proposal to Effectively Ban Head Strikes Is Unjustified
 23                and Will Endanger the Safety of Department Personnel
 24          Even though the Department adopted an extremely restrictive head strike
 25 policy one year ago, and even though the available evidence suggests this new
 26 policy is working to reduce the occurrence of head strikes in the Jails dramatically,
 27 Plaintiffs have advocated that the Department adopt an even stricter policy. The
 28 Department will reserve comment on this proposal until after Plaintiffs file their

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  1 opening brief. Suffice to say, however, that the Department’s newly implemented
  2 head strike policy directly tracks the requirements that the Parties and the Panel
  3 agreed long ago should comprise an appropriate head strike policy; it has succeeded
  4 in drastically reducing the use of head strikes in the Jails; it severely curtails the use
  5 of head strikes at the same time it protects Deputies from unavoidable serious bodily
  6 harm that could be inflicted on them by assaultive inmates; and it is consistent with
  7 head strike policies used at other jails.
  8         On May 11, 2022, the Department implemented a new head strike directive
  9 advising LASD personnel that head strikes may only be employed during a use of
 10 force if (1) an inmate is assaultive; and (2) an inmate presents an imminent danger
 11 of serious injury; and (3) there are no other more reasonable means to avoid serious
 12 injury. This policy is appropriate for a number of reasons.
 13         First, this policy directly tracks the head strike policy the Department is
 14 required to implement pursuant to the terms of the Settlement Agreement, and thus
 15 reflects what the Parties bargained for in this case to appropriately eliminate
 16 impermissible head strikes. Specifically, the Implementation Plan requires the
 17 Department to implement a head strike policy which would only allow for head
 18 strikes to be used if an “inmate is assaultive and presents an imminent danger of
 19 serious injury to a Department member or another person and there are no other
 20 more reasonable means to avoid serious physical injury.” See Implementation Plan
 21 § 2.6 (Dugdale Decl. at ¶ 1; Exh. A). There can be no disputing that the
 22 Department’s policy does exactly what is required under the Implementation Plan.
 23         Second, by all indications, the Department’s new head strike policy has
 24 succeeded in dramatically decreasing the number of head strikes in the Jails, and
 25 there is no data signaling the need for an even more restrictive policy. In 2021,
 26 before the Department’s new, restrictive head strike policy was enacted, there were
 27 81 head strikes employed in IRC, MCJ, and TTCF combined; in 2022, that number
 28 decreased to 51; and through the first four months of 2023, under Sheriff Luna,

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  1 those three facilities have seen just 16 combined head strikes in total. See Dkt. 238
  2 at 7; Alva Decl. at ¶ 5. These figures, which essentially show about one head strike
  3 per month in each of the Downtown Jail facilities, represent a miniscule percentage
  4 of the overall uses of force in the Downtown Jails. The Department sees no reason,
  5 and does not believe that the Plaintiffs have put forward any reason, compelling yet
  6 another change in policy, given that the Department changed this policy just last
  7 year, and given that the newly implemented policy appears to be successfully
  8 limiting the use of head strikes during uses of force. Furthermore, the Department
  9 has already invested a significant amount of time and resources in communicating
 10 the new head strike policy throughout the Department’s Custody Division over the
 11 past year, an effort which has been recognized and commended by the Panel.
 12 Requiring the Department to start over with yet another policy will simply cause
 13 confusion among Deputies, and will waste limited Department resources better
 14 utilized elsewhere than attacking an area where the Department is clearly improving.
 15         Third, the Department is concerned that amending its head strike policy to be
 16 even more restrictive will endanger the safety of Department personnel working in
 17 the Jails. The Department reserves the right to elaborate on this point upon
 18 reviewing Plaintiffs’ proposed revisions to the Department’s head strike policy.
 19         Finally, the Department’s current head strike policy is consistent with the
 20 head strike policies used by other carceral facilities across in United States. Indeed,
 21 when the Department asked the Panel to provide it with an example of another jail
 22 with a comparable policy prohibiting the use of head strikes, the Panel’s members
 23 cited the use of force policy in place at Riker’s Island in New York, another large
 24 jail facility currently subject to monitoring as a result of prior allegations of
 25 excessive uses of force. Dugdale Decl. at ¶ 5. That policy is the same, for all
 26 practical purposes, as the restrictive head strike policy that has been implemented by
 27
 28

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  1 the Department.5
  2          Notwithstanding each of these issues, the Department fully recognizes that
  3 head strikes are potentially dangerous (which is why its new policy severely restricts
  4 when they can be employed). The Department shares a common goal with Plaintiffs
  5 to eliminate all unjustified head strikes; and it has agreed to take those steps
  6 necessary to mitigate the health effects of head strikes when they do occur.
  7 Accordingly, the Department has included, as elements of its proposed Compliance
  8 Plan, provisions intended to ensure that all head strikes are accurately reported and
  9 tracked; that inmates subject to head strikes receive immediate medical attention;
 10 that all head strikes are thoroughly reviewed and scrutinized to determine whether
 11 they comply with Department policy; and that there is full transparency around the
 12 disciplinary process related to head strikes which violate Department policy. At this
 13 time, the Department does not believe additional restrictions on head strikes are
 14 necessary to move it to full compliance with the Settlement Agreement, particularly
 15 given the Department’s encouraging progress on this issue over the past 18 months.
 16         B.     Plaintiffs’ Proposal To Implement Mandatory-Minimum
 17                Disciplinary Punishments Is Unwarranted, Unfair, and Cannot Be
 18                Unilaterally Imposed by the Sheriff Without Violating the
 19                Collective Bargaining Rights of the Department’s Personnel
 20         Plaintiffs’ proposal to implement-mandatory minimum punishments for use
 21
      5
 22     The Riker’s Island policy cited to the Parties by Monitor Nicholas Mitchell
      “strictly prohibits the use of high impact force” against inmates, which the New
 23   York City Department of Corrections defines as “strikes or blows to the head, face,
 24   groin, neck, kidneys, or spinal column.” Dugdale Decl. ¶ 5, Exh. B. However, it
      carves out an exception to that “strict prohibition” for cases where correctional
 25   officers face “imminent danger of serious bodily injury or death, and where lesser
 26   means are impractical or ineffective.” Id. Accordingly, like LASD’s head strike
      policy, the Riker’s Island policy permits head strikes where an inmate is assaultive,
 27   where the inmate’s actions pose an “imminent danger of serious bodily injury [or
 28   superfluously “death”], and “where lesser means are impractical or effective.” Id.

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  1 of force violations committed by Department personnel—without regard as to any
  2 mitigating, extenuating, or discretionary analysis—is unwarranted, fundamentally
  3 unfair, and would violate the Department’s Collective Bargaining Agreement with
  4 the Association for Los Angeles Deputy Sheriffs (“ALADS”). As with Plaintiffs’
  5 proposal on head strikes, Plaintiffs have not satisfied their burden of putting forward
  6 facts which come anywhere close to justifying their proposal. While the
  7 Department is committed to improving accountability for violators of Department
  8 policy and to provide greater transparency to Plaintiffs and the Panel with respect to
  9 disciplinary outcomes for use of force policy violations, imposing mandatory-
 10 minimum punishments for Department personnel who violate use of force policies is
 11 simply not practical, nor called for at this time.
 12         First, an effective but more flexible approach is being taken by Sheriff Luna,
 13 to ensure that Deputies who engaging in wrongdoing at the Jails are held
 14 accountable for their actions. As noted above, since taking office in December
 15 2022, Sheriff Luna has already agreed to undertake a number of significant
 16 corrective actions to increase Deputy accountability and to increase the reliability
 17 and consistency of the use of force review process. These actions include: (1)
 18 standing up the Independent Force Review Unit; (2) requiring that uses of force be
 19 reported in certain ways to ensure clarity as to whether they were, or were not,
 20 committed in a manner consistent with Department policy; (3) requiring that those
 21 reviewing uses of force explicitly examine whether policy violations occurred and
 22 whether statements made by Deputies about uses of force are materially consistent
 23 with other evidence, including video evidence; and (4) committing to equipping all
 24 Deputies in the jails with BWCs. Sheriff Luna should be given an opportunity to
 25 implement this disciplinary system within the Department and demonstrate its
 26 efficacy.
 27         Second, Plaintiffs’ proposed policy would eliminate the Department’s
 28 discretion in disciplining its own personnel. The new disciplinary system Plaintiffs

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  1 propose would impose mandatory punishments on Department personnel who
  2 violate a use of force policy—in many cases a suspension in the case of a first
  3 violation—and would prohibit the Department from taking any mitigating or
  4 extenuating factors into account when determining the appropriate discipline
  5 imposed in a case. By contrast, the disciplinary process the Department has in place
  6 takes into account all of the individual circumstances surrounding a policy violation
  7 and the individual who engaged in actions outside of policy, and progressively
  8 punishes offenders who engage in repeated policy violations. It is thus fairer than
  9 the system proposed by Plaintiffs. The Department imposes discipline on a case-by-
 10 case basis in accordance with the Department’s Disciplinary Guidelines, which take
 11 into account discretionary factors such as a violators’ previous history of violations,
 12 the nature of the force used, and other extenuating circumstances, and has resulted
 13 in suspensions and in some cases the termination of Department personnel in the
 14 Jails for violations of the LASD’s use of force policy. There is no reason, and
 15 Plaintiffs have not put forward any reason, to deviate from the Department’s
 16 Disciplinary Guidelines at this time, particularly without first providing Sheriff
 17 Luna a fair opportunity to show how he intends to hold Deputies accountable for
 18 policy violations under the Department’s current disciplinary system.
 19          Finally, the Sheriff lacks the authority to unilaterally make the kind of
 20 changes to the Department’s disciplinary policies advocated by Plaintiffs without
 21 negotiating these changes with ALADS, the union which represents the labor
 22 concerns of LASD Deputies. Indeed, there is currently a court order in place which
 23 makes it clear the Sheriff has an obligation to collectively bargain with ALADS
 24 over any changes to the disciplinary system in place at the Jails. See County of Los
 25 Angeles v. Los Angeles County Employee Relations Commission, Notice of Ruling,
 26 Case No. 20STCP3034 (L.A. Super. Ct. Sept. 16, 2021) (the “ERCOM Decision”).6
 27
      6
 28       This decision is attached as Exhibit C to the Declaration of Robert E. Dugdale.

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  1 In the ERCOM Decision, the Honorable James C. Chalfant ruled the County and the
  2 Sheriff have an obligation under Los Angeles County Code Chapter 5.04
  3 (commonly known as the “Employee Relations Ordinance” or “ERO”) to bargain
  4 with ALADS regarding any changes to the disciplinary guidelines imposed as a
  5 result of the Settlement Agreement in this very case, and Judge Chalfant sustained a
  6 finding by the Los Angeles County Employee Relations Commission striking an
  7 attempt by the County and the Sheriff to unilaterally change such disciplinary
  8 guidelines without first negotiating those changes with ALADS. Accordingly, as
  9 this decision makes clear, the Department lacks the authority to unilaterally
 10 implement Plaintiffs’ proposal to alter the Department’s disciplinary regime by
 11 replacing its current range of potential disciplinary sanctions with a policy that
 12 imposes mandatory-minimum punishments, and attempting to do so would certainly
 13 result in a protracted legal dispute with ALADS. The Court should therefore allow
 14 Sheriff Luna to begin implementing his new agenda with respect to accountability
 15 and discipline before ordering the Department to take action that will likely result in
 16 litigation that consumes the Parties’ and the Court’s limited time, energy, and
 17 resources.
 18         C.     Additional Potential Areas of Disagreement
 19         Plaintiffs may seek to put other issue before this Court and advocate that they
 20 should be included as part of a court-ordered Compliance Plan. If so, Defendants
 21 will respond to them in further briefing this Court has asked the Parties to provide
 22 on June 12, 2023.7
 23
      7
 24     Another key aspect of this case, pushed for years by the Panel, is that the Parties
      come to an agreement regarding provisions in the Implementation Plan which no
 25   longer merit monitoring because the Department has achieved substantial
 26   compliance with such provisions for a substantial period of time. To that end, the
      Department has provided Plaintiffs’ counsel with a list 54 provisions for which the
 27   Department has achieved compliance for between 27 and 66 months and counting.
 28   Dugdale Decl. ¶ 7, Exh. D. Today, Plaintiffs’ counsel agreed that monitoring can

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  1 IV.     CONCLUSION
  2         For each of the foregoing reasons, this Court should adopt the Compliance
  3 Plan proposed by the Department, which is attached to this brief as Exhibit A.
  4
  5 DATED: May 31, 2023                  KENDALL BRILL & KELLY LLP
  6
                                         By:         /s/ Robert E. Dugdale
  7                                            Robert E. Dugdale
  8                                            Attorneys for Robert Luna, Sheriff of Los
                                               Angeles County, in his Official Capacity
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 26 cease as to 5 of those provisions and identified others on the Department’s list which
    do not have self-assessment requirements, and therefore, at least in Plaintiffs’ view,
 27 should still be subject to continued Monitoring. Id. The Parties will continue to
 28 negotiate this aspect of this case and will seek the Court’s intervention if needed.

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